       Case: 1:22-cr-00208 Document #: 56 Filed: 10/12/22 Page 1 of 59 PageID #:111

   FI/1L2E D                JB         22CR208
     10  /2022
               . BRUTO   N    UMTED STATES DISTRICT COURT
   THOMA.SDG IS T R ICT COURT
CLERK , U .S                  NORTHERN DISTRICT OF ILLINOIS
                                      EASTERN DIVISION


   UNITED STATES OF AMERICA
                                                                     JUDGE KENNELLY
                                                     Case No. 22 CR 208
                                                                MAGISTRATE JUDGE MCSHAIN
                    v.                               Violations: Title 26, United States
                                                     Code, Sections 720L and 7 203;
                                                     Title 18, United States Code, Sections
   JOSEPH J. CIPOLLA, JR.                            1341, 1343 and 1344; Title 49, United
                                                     States Code, Sections 32703(2) and
                                                     3270e(b)

                                                     SUPERSEDING INDICTMENT


                                         COUNT ONE

           The SPECIAL APRIL 2O2l GRAND JURY charges:

           1.       At times material to this Superseding Indictment:

                    a.    The Internal Revenue Service was an agency of the United States

   Department of Treasury, responsible for administering and enforcing the tax laws of

   the United States. Under these laws, individuals were required to accurately report

   income to the Internal Revenue Service on individual income tax return forms (Form

   1040   with schedules and attachments) and pay all income tax and tax penalties due

   and owing. If a taxpayer failed accurately to report or pay his or her tax liability, the

   Internal Revenue Service could calculate, assess, and attempt to collect the correct

   tax liability.

                    b.    Defendant JOSEPH      J.   CIPOLLA, JR. ("CIPOLLA) was              a

   resident of the Northern District of Illinois.
   Case: 1:22-cr-00208 Document #: 56 Filed: 10/12/22 Page 2 of 59 PageID #:112




              c.    CIPOLLA and Individual AA were partners in the operation of

Company A, a business which sold vehicles and performed automobile repair services

in the Northern District of Illinois

              d.    In   addition to his business involvement with Company A,

CIPOLLA brokered the purchase and resale of vehicles by Company B. In particular,

CIPOLLA located so-called "classic cars" for Company B to purchase for the purpose

of resale at a profit following repair and restoration of the vehicles. Company B paid

commissions to CIPOLI"A that consisted of 50% of the net profit from the resale of

vehicles that CIPOLLA located for purchase and resale by Company B.

              e.    Casino A was a casino gaming business located    in the Northern

District of Illinois. Casino A reported to the Internal Revenue Service on Form W-2G

gambling winnings above a certain threshold. Casino A included the social security

number of the individual whose winnings were reported on Form W-2G.

              f.    Prior to 2015, CIPOLI,A established a rewards account with

Casino   A that allowed CIPOLLA to earn certain benefi.ts or rewards at     Casino   A

based on the volume of CIPOLLA's gaming activity at Casino A. No later than in or

about mid-January 2015, CIPOLLA provided a false social security number to

Casino   A; in particular, CIPOLLA falsely represented to Casino A that the social

security number of one of CIPOLLA's relatives was his own. By supplying a false

social security number to Casino A, CIPOLLA induced Casino A to transmit to the




                                          2
   Case: 1:22-cr-00208 Document #: 56 Filed: 10/12/22 Page 3 of 59 PageID #:113




Internal Revenue Service Forms W-2G for CIPOLLA's gambling winnings that were

associated   with CIPOLLA's relative rather than CIPOLLA

       2.     During calendar year 2075, CIPOLI"A received gxoss income of
approximately gL27,253 from Company B as commissions paid. to CIPOLLA by

Company B for locating vehicles that were purchased and resold             at a profit   by

Company B. CIPOLLAwas required by law, following the close of calendar year 20L5,

and on or before   April   18, 20L6, to frle a Form 1040 individual income tax return   with

the Internal Revenue Service and to pay any such income tax that was due and owing.

       3.     After consideration of other business and income-generating activity

that CIPOLI"A engaged in during              2015, including activity associated with

Company A, CIPOLI"A had an income tax due and owing to the Internal Revenue

Service.

      4.      CIPOLLA failed to flle a Form 1040 individual income tax return for

calendar year 20L5 on or before April 18, 2016.

      5.      During calendar year 2015, and continuing thereafter until the date of

this Superseding Ind.ictment, in the Northern District of Illinois, Eastern Division,

                                 JOSEPH J. CIPOLI"A, JR.,

d"efendant herein, did     willfirlly attempt to evade and defeat the federal income tax

due and owing by him to the United States for the calendar year 2Ol5 by committing

the following affirmative acts, among others:

              a.     maintaining a false social security number at Casino A; and
   Case: 1:22-cr-00208 Document #: 56 Filed: 10/12/22 Page 4 of 59 PageID #:114




            b.     handling hie affairs in a manner so as to avoid the creation and

maintenance of cuetomary business and accounting records sellsslning actual

revenues received and. expenses incurred;

      In violation of fitle 26, United States   Cod.e,   Section 720L-




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   Case: 1:22-cr-00208 Document #: 56 Filed: 10/12/22 Page 5 of 59 PageID #:115




                                    COTJNT TWO
   '   The SPECIAL APBIL 2O2]- GRAI\ID JIIRY turther charges:

       On or about April 18, 2016, in the Northern District of Illinois,

                             JOSEPH J. CIPOL[,4, JR.,

defendant hereiu, a resident of tbe Northern District of lllinoie, having received gross

income   in excess of the amount required to frle an income tax retum, and thereby
being required by law to flle an iucome tax retum (Form 1040 with schedulee and

attachments) following the close of calendar year 2015 and on or bef,ore April 18, 2016,

wilfuUy failed to male and frle such returu at the time required by law;

       In violation of fitle 26, United Statee Code, Section 7209.




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   Case: 1:22-cr-00208 Document #: 56 Filed: 10/12/22 Page 6 of 59 PageID #:116




                                    COUNT THREE

      The SPECIAL APRIL 2021GRAND JURY further charges:

       1.    The allegations in sub-paragraphs 1(a), 1@), L(c), 1(e), and 1(fl of Count

One of this Superseding Indictment are re-alleged and incorporated herein.

       2.    In addition to his business involvement with         Company   A, CIPOLLA

owned, operated and controlled a for-profit Illinois limited     liability company called

Chicago Muscle Cars LLC ("Chicago Muscle Cars"). Through Chicago Muscle Cars,

CIPOLLA purchased and. resold motor vehicles for a profi.t and earned substantial

income in the process.

       3.    One of the vehicles that CIPOLIA sold during 2016 was                   a   1963

Chevrolet Corvette (Vehicle Identification Number ('1/II{") ending 3002). CIPOLLA

purchased the vehicle    in   2015 and,   in order to conceal his ownership of it,   caused

vehicle to be titted in Illinois in the names of two of his relatives. CIPOLLA kept the

vehicle titled in the names of his relatives through the time in 2016 that he sold       it to

Individual DW for approximately $85,0000. CIPOLLA received a substantial profit

as a result of his sale of the 1963 Chewolet Corvette    flIIN ending 3002) to Individual

DW.

      4.     In addition to his business involvement with Company A and          Chicago

Muscle Cars, CIPOLLA brokered the sale of an airplane from Company C to a thfud-

party. Company C paid approximately $20,000 to CIPOLLA for his role in brokering

the sale of the airplane.


                                              6
    Case: 1:22-cr-00208 Document #: 56 Filed: 10/12/22 Page 7 of 59 PageID #:117




        5.    During 2016, CIPOLLA used the personal identifuing information of a

relative to rent an apartment unit in the Aqua Building in downtown Chicago. In

particular, CIPOLLA used a relative's date of bfuth, social security number and

driver's license to rent the apartment unit. Thereafber, CIPOLI"A used the Airbnb

website to rent the apartment unit on approximately 43 separate occasions during

zOtG   in exchange for individuals to rent the unit on a short-term basis.

        6.    After consideration of the business and income-generating activity that

CIPOLLA engaged in during 2016, including activity associated with Company A,

CIPOLLA had. an income tax due and owing to the Internal Revenue Service.

        7.    CIPOLI"A failed to frle a Form 1040 individual income tax return for

calendar year 2016 on or before   April 18,20L7.

        8.    During calendar year 2016, and continuing thereafter until the date of

this Superseding Indictment, in the Northern District of Illinois, Eastern Division,

                              JOSEPH J. CIPOLLA, JR.,

defendant herein, did willfirlly attempt to evade and defeat the federal income tax

due and owing by him to the United States for the calendar year 2016 by committing

the following affirmative acts, among others:

              a.     maintaining a false social security number at Casino A;

              b.     leasing the Aqua Building apartment unit        in the name of a
relative;




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   Case: 1:22-cr-00208 Document #: 56 Filed: 10/12/22 Page 8 of 59 PageID #:118




              c.     maintaining the Illinois vehicle title for the 1963 Chewolet

Conrette   flIIN ending   3002) in the name of his relativeg; and

              d.     handling his affairs in a manner so ae to avoid the creation and

maintenance of cuetomary business and accounting record.s coucerning actual

revenues received. and. erpenees incurred;

      In violation of fitle 26, United States Code, Section 72OL.




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       Case: 1:22-cr-00208 Document #: 56 Filed: 10/12/22 Page 9 of 59 PageID #:119




                                       COUNT FOUR

          The SPECIAL APRIL 2021GRAND ruRY turther charges:

          On or about   April L8,2017, in the Northern District   of Illinois,

                                 JOSEPH J. CIPOLLA, JR.,

    defendant herein, a resident of the Northern District of Illinois, having received gross

.   income   in excess of the amount required to frle   arr income tax return, and thereby

    being required by law to frle an income tax return (Form 1040 with schedu]es and

    attachments) following the close of calendar year 20LG and on or before April L8,20t7,

    willfully failed to make and frIe such return at the time required by law;

          In violation of Title 26, United States Code, Section 7203.




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   Case: 1:22-cr-00208 Document #: 56 Filed: 10/12/22 Page 10 of 59 PageID #:120




                                      COUNT FIVE

      The SPECIAL APRIL 2021GRAND JURY further charges:

      1.     The allegations in sub-paragraphs 1(a), 1(b), 1(e) and 1(0 of Count One

of this Superseding Indictment are re-alleged and incorporated herein.

      2.     During   2OL7   , on at least two occasions, CIPOLI"A engaged in financial

transactions greater than $10,000 at Casino A and thereby caused the generation of

a currency transaction report ("CTE') by Casino A. The CTRs generated as a result

of these transactions at Casino A reflected the social security number of Cipolla's

relative in whose name the Casino A account was created.

      3.     During 2017, CIPOLI"A owned, operated and controlled a for-profi.t

Illinois limited liability company called Mercedes Benz Classics LLC ("Mercedes Benz

C}assics")- Through Mercedes Benz Classics, CIPOLLA purchased and resold motor

vehicles for a profit and earned substantial income in the process.

      4.     During 2017, CIPOLLA defrauded at least three prospective purchasers

of vehicles by taking their money for the sale of a vehicle without either delivering

the vehicle or refunding the   full amount of the purchase   money received.

      5.     During 2017, CIPOLLA purchased a BMW X5 vehicle ("the BMW") for

a total price of approximately $90,398. Prior to purchasing the vehicle, CIPOLLA

arranged for a relative to serve as the nominee owner of the vehicle, meaning that

the BMW was legally titled in the name of the nominee owner even though CIPOLLA

was the true owner of the BMW, possessed the BMW, and paid all of the costs


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   Case: 1:22-cr-00208 Document #: 56 Filed: 10/12/22 Page 11 of 59 PageID #:121




associated   with   BN{W. As   a down payment to complete the purchase, CIPOLI"A
provided $7,000 in cash and offered another car    aS a   trade in. The remaining cost of

the purchase was fi.nanced through the extension of a consumer loan by a lending

institution. AII paperwork associated with securing that fi.nancing, including the

application, reflected that the purchase was being completed by CIPOLLA's relative

when, in fact, CIPOLLA was the actual purchaser of the vehicle. At various times

thereafter, CIPOLI"A made installment payments pursuant to the loan agreement

between the lending institution and the nominee purchaser. CIPOLI"A also caused

the BMW to be titled in Illinois in the name of the nominee purchaser.

      6.      After consideration of the business and income-generating activity that

CIPOLI"A engaged in during 2017, including activity associated with Mercedes Benz

Classics, CIPOLLA had an income tax due and owing to the Internal Revenue

Service.

      7.      CIPOLLA failed to frle a Form 1040 individual income tax return for

calendar year 2017 on or before April L7,20L8.

      8.      During calendar year 2017, and continuing thereafter until the date of

this Superseding Indictment, in the Northern District of Illinois, Eastern Division,

                               JOSEPH J. CIPOLLA, JR.,

d.efend.ant herein, did   willfully attempt to evade and defeat the   fed.eral income tax

due and owing by him to the United States for the calendar year 2Ol7 by committing

the following affi.rmative acts, among others:


                                           11
  Case: 1:22-cr-00208 Document #: 56 Filed: 10/12/22 Page 12 of 59 PageID #:122




              a.   maintaining a false social security number at Casino A;

              b.   causing the generation of CTRs that falsely indicated that one of

CIPOLLA's relatives had engaged in financial transactions over $10,000 at Casino A;

              c.   using a relative as a nominee purchaser of the BMW;

              d.   using a nominee purchaser to secure financing for the purchase

of the BMW;

              e.   using a nominee titleholder for the BMW; and

              f.   handling his affairs in a manner so as to avoid the creation and

maintenance of customary business and accounting record.s concerning actual

revenues received and expenses incurred;

      In violation of Title 26, United States Code, Section 7201.




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   Case: 1:22-cr-00208 Document #: 56 Filed: 10/12/22 Page 13 of 59 PageID #:123




                                      COUNT SD(
      The SPECIAL APRIL 2021GRAND ruRY turther charges:

      On or about April 17,2018, in the Northern District of Illinois,

                               JOSEPH J. CIPOLLA, JR.,

defendant herein, a resident of the Northern District of Illinois, having received gross

income   in excess   of the amount required to flle an income tax return, and thereby

being required by law to frle an income tax return (Form 1040 with schedules and

attachments) following the close of calendar year 2017 and on or before April   17   ,2018,

willfully failed to make and frle such return at the time required by law;

      In violation of Title 26, United States Code, Section 7203.




                                           13
   Case: 1:22-cr-00208 Document #: 56 Filed: 10/12/22 Page 14 of 59 PageID #:124




                                     COUNT SEVEN

      The SPECIAL APRIL 2021GRAND JURY further charges:

      1.      The allegations in sub-paragraphs 1(a), 1(b), 1(e) and 1(0 of Count One

of this Superseding Indictment are re-alleged and incorporated herein.

      2.      During 20t8, CIPOLLA continued to own and operate Mercedes Benz

Classics for the primary purpose of purchasing and selling motor vehicles for profit.

CIPOLLA earned substantia-l income from his operation of Mercedes Benz Classics.

      3,      During 2018, CIPOLI,A owned, operated and controlled a for-profi.t

Illinois limited tiability company called Six North Aviation LLC ("Six North
Aviation"). Through Six North Aviation, CIPOLI"A purchased and resold motor

vehicles for a profit and earned substantial income in the process.

      4.      During 20L8, CIPOLLA purchased a L967 Pontiac GTO            0[N ending
9007) from Individual DM        in Pennsylvania. During his purchase of that vehicle,
CIPOLLA use a false name; in particular, CIPOLLA represented his name to be that

of one of CIPOLLA's associates (Individual WC).     CPOLLA purchased the vehicle for

approximately $41,000. Afber buying the vehicle, CIPOLLA did not apply to have the

vehicle titled in CIPOLLA's name (or that of any entity he controlted). Also in 2018,

CIPOLLA    sold.   the vehicle to Individual WN for approximately $57,000. After selling

the vehicle, CIPOLLA again intentionally refrained from being included in the

vehicle's chain of    title and merely provided the existing title to Individual WN.
CIPOLLA engaged in this practice, which is known as "tit1e-skipping," in order to


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   Case: 1:22-cr-00208 Document #: 56 Filed: 10/12/22 Page 15 of 59 PageID #:125




prevent his ownership of the vehicle appearing in government records. When asked

by Individual WN why Individual DM's name was on the tit1e, CIPOLLA falsely

claimed that Individual DM was CIPOLLA's wife.

      5.     During 2018, CIPOLLA continued to make payments toward the
purchase of the BMW that was in the name of a nominee titleholder.

      6.     Afber consideration of the business and income-generating activity that

CIPOLI"A engaged in during 2018, including activity associated with Mercedes Benz

Classics and Six North Aviation, CIPOLLA had an income tax due and owing to the

Internal Revenue Service.

      7.     CIPOLLA failed to file a Form 1040 individual income tax return for

calendar year 2018 on or before October L5, 2019.

      8.     During calendar year 2018, and continuing thereafter until the date of

this Superseding Indictment, in the Northern District of Illinois, Eastern Division,

                             JOSEPH J. CIPOLLA, JR.,

defendant herein, did willfully attempt to evade and defeat the federal income tax

due and owing by him to the United States for the calendar year 2018 by committing

the following affi.rmative acts, among others:

             a.     maintaining a false social security number at Casino A;

             b.     using a false name to purchase the 1967 Pontiac GTO flI[N

ending 9007);




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      Case: 1:22-cr-00208 Document #: 56 Filed: 10/12/22 Page 16 of 59 PageID #:126




                c.     engaging   in title-skipping with          respect to the eale of   the 1967

    Pontiac GTO (YIN snding 9007);

                d.     maintaining a nominee titleholder for the BMW; and

                e.     handling his affafus in a manner so as to avoid the creation and

    maintenance of customary business and accounting records concerning actual

'   revenues received and expenses   iucurred;               ;




          In violation of Title 26, United States   Cod.e,       Section 720L.




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   Case: 1:22-cr-00208 Document #: 56 Filed: 10/12/22 Page 17 of 59 PageID #:127




                                    COT'I{T EIGHT

      The SPECIAL APRIL 202L GBAbID ryRY turther charges:

      On or about October 16, 2019, in the Northeno District of lllinois,

                              JOSEPH J. CIPOLT"A, JB.,

defeadant her.ein, a resident of the Northern Distrist of lllinois, having received. g?osg

income   in excees of the amount required to frle an income tax return, and thereby
being required by law to frIe an income tax return (Form 1040 with echedules and

attachments) fultowitrg the close of calend.ar year 2018 and. on or before October 15,

20fP, wiUtUy failed to make and frle guch return at the time required by law;

      In violation of fitle 26, Udted Statea Code, Sectiou 72A8.




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     Case: 1:22-cr-00208 Document #: 56 Filed: 10/12/22 Page 18 of 59 PageID #:128




                                    COUNT NINE

        The SPECIAL APRIL 2021GRAND JURY turther charges:

        1.     The allegations in sub-paragraphs 1(a) and 1@) of Count One of this

Superseding Indictment are re-alleged and incorporated herein.

        2.     During 2019, CIPOLLA continued to own and operate Six North

Aviation for the primary purpose of purchasing and selling motor vehicles for profit.

In   addition, CIPOLLA used Six North Aviation to purchase and sell aircraft.

CPOLI"A earned substantial income from his operation of Six North Aviation.

        3.     On or about Februarry 27 ,20L9, CIPOLI"A established a false registered

agent for service of process for Six North Aviation with the Illinois Secretary of State.

        4.     In or about August 20L9, CIPOLLA rented aircraft hangar 99-2 at the

DuPage County Airport through the use of a nominee lessee, namely, an associate of

CIPOLLA (Individual AP).

        5.     In or about October 2019, CIPOLLA rented aircraft hangar 99-1 at the

DuPage County Airport through the use of a nominee lessee, namely, Individuat AP.

        6.     During 2019, CIPOLLA purchased a Cessna        210,4.   aircraft. During his

purchase of    that aircraft, CIPOLI"A used a false name; in particular, CIPOLLA
represented.   his name to be "John Ryan." CIPOLLA purchased the aircraft for

approximately $23,500. After buying the aircraft, CIPOLLA did not apply to have the

aircraft titled in CIPOLLA's name or that of any entity he controlled. Thereafber,

CIPOLLA sold that aircraft to Individual GS for approximately $40,000. After selling


                                           18
   Case: 1:22-cr-00208 Document #: 56 Filed: 10/12/22 Page 19 of 59 PageID #:129




the aircraft, CIPOLLA engaged in title skipping, namely, he intentionally refrained

from being included in the aircrafb's chain of tit1e.

       7.    During 2019, CIPOLI"A continued to make payments toward the
purchase of the BMW that was in the name of a nominee titleholder.

       8.    After consideration of the business and income-generating activity that

CIPOLLA engaged      in during     2019, including activity associated   with Six North

Aviation, CIPOLLA had an income tax due and owing to the Internal Revenue

Service.

       9.    CIPOLLA failed to file a Form 1040 individual income tax return for

calendar year 2019 on or before July 15, 2020.

       10.   During calendar year 20L9, and continuing thereafter until the date of

this Superseding Indictment, in the Northern District of Illinois, Eastern Division,

                              JOSEPH J. CIPOLI,,A, JR.,

defendant herein, did willfuIly attempt to evade and defeat the federal income tax

due and. owing by him to the United States for the calend.ar year 2019 by committing

the following affi.rmative acts, among others:

             a.     establishing a false registered agent for service of process in

Illinois for Six North Aviation;

             b.     renting hangar 99-2 at the DuPage County Airport through a

nominee lessee;




                                            19
     Case: 1:22-cr-00208 Document #: 56 Filed: 10/12/22 Page 20 of 59 PageID #:130




              c.     renting hangar 99-1 at the DuPage County Airport through a

nominee lessee;

              d.     purchasing the Cessna 2104. aircraft using a false name;

 .            e.     engagrng in title-skipping   lrith   respect to the sale of the Cessna

2l0Aaircraft;

              f.     maintaining a nominee titleholder for the BMW; and

              g.     handling his affairs in a manner so as to avoid the creation and

maintenance of customary business and accounting records sellgglning actual

revenues received and expenses incurred;

        In violation of Title 26, United States Code, Section 720L.




                                           20
       Case: 1:22-cr-00208 Document #: 56 Filed: 10/12/22 Page 21 of 59 PageID #:131




                                         COI,INT TEN

          The SPECIAL APRIL 202L GRAND ruRY turther charges:

          On or about July 15, 2020, in the Northern District of Illinois,

                                  JOSEPH J. CIPOLI"A, JR.,

    defend.ant herein, a resident of the Northern District of Illinois, having received gross

    income   in   excess of the amount required   to flle an income tax return, and thereby

    being required by law to frle an income tax return @orm 1040 with schedules and

    attachrnents) following the close of calendar year zOLg and on or before July 15, 2020,

    willfuIly failed to make and file such return at the time required by law;
(         In violation of Title 26, United States Code, Section 7203.




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   Case: 1:22-cr-00208 Document #: 56 Filed: 10/12/22 Page 22 of 59 PageID #:132




                                    COUNT ELEVEN

      The SPECIAL APRIL 2021GRAND JURY further charges:

      1.     The allegations in sub-paragraphs 1(a) and 1(b) of Count One of this

Superseding Indictment are re-alleged and incorporated herein.

      2.     During 2020, CPOLLA continued to own and. operate Six North
Aviation for the primary purpose of purchasing and selling motor vehicles and

aircraft for profi.t. CIPOLI"A earned substantial income from his operation of Six

North Aviation.

      3.     During 2020, CIPOLLA maintained a false registered agent for service

of process for Six North Aviation   with the Illinois Secretary of State.

      4.     During 2020, CPOLLA owned, operated and controlled a for-profit

Illinois limited liability company called Dupage Aviation LLC ('Dupage Aviation").

Through Dupage Aviation, CIPOLLA offered, among other things, private jet leasing

services to the public and earned substantial income in the process.

      5.     During 2020, CIPOLLA fraudulently procured Paycheck Protection
Program and Economic Injury Disaster Loans for various entities with whitih he was

associated, including those described   in Counts Thirteen through Nineteen herein.

      6.     During 2020, CIPOLI"A continued to rent DuPage County Airport

hangars 99-1 and 99-2 through a nominee lessee.

      7.     During 2020, CPOLI"A continued to make payments toward the
purchase of the BMW that was in the name of a nominee titlehold.er.


                                            22
   Case: 1:22-cr-00208 Document #: 56 Filed: 10/12/22 Page 23 of 59 PageID #:133




       8.    After consideration of the business and income-generating activity that

CIPOLLA engaged      in during     2020, includ.ing activity associated   with Six North
Aviation and his procurement of Paycheck Protection Program and Economic Injury

Disaster Loans, CIPOLLA had an income tax due and owing to the Internal Revenue

Service.

       9.    CIPOLI"A failed to flle a Form 1040 individual income tax return for

calendar year 2020 on or before May 17, 202t.

       10.   During calendar year 2020, and continuing thereafter until the date of

this Superseding Indictment, i:r the Northern District of Illinois, Eastern Division,

                              JOSEPH J. CIPOLI,A, JR.,

defendant herein, did willfully attempt to evade and defeat the federal income tax

due and owing by him to the United States for the calendar year 2020 by committing

the following affi.rmative acts, among others:

             a.     maintaining a false registered agent for service of process in

Illinois for Six North Aviation;

             b.     renting hangar 99-2 at the DuPage County Airport through a

nominee lessee;

             c.     renting hangar 99-1 at the DuPage County Airport through a

nominee lessee;

             d.     maintaining a nominee titleholder for the BMW; and




                                            23
  Case: 1:22-cr-00208 Document #: 56 Filed: 10/12/22 Page 24 of 59 PageID #:134




            e.     handling his affairs in a manner so as to avoid the creation and.

maiutenance of cuetomary business and accounting records concerning actual

revenues received and expenees incwred;

      In violation of fitle 26, Uuited States Code, Section 720t.




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   Case: 1:22-cr-00208 Document #: 56 Filed: 10/12/22 Page 25 of 59 PageID #:135




                                   COUNT TVI{ELVE

      The SPECIAL APRIL 2021GRAND ruRY turther charges:

      On or about May L7, 202L, in the Northern District of Illinois,

                               JOSEPH J. CIPOLLA, JR.,

defendant herein, a resident of the Northern District of Illinois, having received gross

income   in excess   of the amount required to fiIe an income tax return, and thereby

being required by law to frle an i.ncome tax return (Form 1040 with schedules and

attachments) following the close of calendar year 2020 and on or before May 17, 2O2L,

willfully failed to make and frle such return at the time required by law;

              In violation of fitle 26, United States Code, Section 7203.




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   Case: 1:22-cr-00208 Document #: 56 Filed: 10/12/22 Page 26 of 59 PageID #:136




                                COUNT THIRTEEN

      The SPECIAL APRIL 202L GRAND JURY turther charges:

      1.      At times material to this Superseding Indictment:

             a.     The U.S. Small Business Administration ('SBA") was a United

States government agency that provided economic support to small businesses.

             b.    The Coronayirus Aid, Relief, and Economic Security ("CARES")

Act was a federal law enacted in or around March 2020 and designed to provide

emergency financial assistance to the millions of Americans who were suffering the

economic effects caused by the COVID-19 pandemic.

             c.    One source of relief provided by the CARES Act was the

authorization of forgivable loans to small businesses, including sole proprietorships,

for job retention and certain other expenses, through a program called the Paycheck

Protection Program ("PPP").

             d.    To obtain a PPP loan, an applicant submitted a PPP loan
application. The PPP loan application required the applicant to acknowledge the

program rules and make certain affirmative certffications regarding eligibiliff.

Applicants were required to provide, among other things, the business's average

monthly payroll expenses and number of employees. These figures were used to

calculate the applicant's elig,ibility and the amount of money   it could receive under
the PPP. Applicants were also required to make good faith certifi.cations, including




                                         26
     Case: 1:22-cr-00208 Document #: 56 Filed: 10/12/22 Page 27 of 59 PageID #:137




that economic uncertainties have necessitated their loan requests to support the
ongoing operations of the applicant.

               e.    PPP loan proceeds were required to be used by the business for

certain permissible expenses-payroll costs, interest on mortgages, rent, and

utilities. The PPP allowed the interest and principal on the PPP loan to be entirely

forgiven by the SBA if the business spent the loan proceeds on these items within a

designated period of time and used at least a certain percentage of the PPP loan for

payroll expenses.

              t.     To gain access to funds through the PPP, applicants submitted

applications to financial institutions participating in the PPP and received the loans

directly from those fi.nancial institutions as the lender.

 .            g.     Participating financial institutions required applicants for PPP

Ioans to provide truthful information about the business and its owner, including

truthful information about the business's operating expenses, the          business's

employees, how the PPP loan would be used, and the applicant's criminal history,

which information was material to lenders' approval, terms, and funding of loans.

              h.     During 2020, CIPOLLA owned, operated and controlled Six North

Aviation.

              i.    During 2020, a CIPOLIA associate, Individual AP, was the
nominal owner of Exotic Aerospace LLC ("Exotic Aerospace"), a for-profit Illinois

limited liability company.


                                           27
   Case: 1:22-cr-00208 Document #: 56 Filed: 10/12/22 Page 28 of 59 PageID #:138




                  j.       During 2020, CPOLLA owned, operated and controlled Chicago

Exotic Car Collection LLC ('Chicago Exotic Car Collection'), which was a for-profi.t

Illinois limited Iiability company.

                  k.       Bank A was a financial institution that issued PPP loans to

qualified applicants. Bank A maintained computer servers that were located outside

of Illinois.

                  1.       Company D was a financial technolory company that processed

PPP loan applications on behalf of fi.nancial institutions that issued PPP loans,

including Bank B. Company D maintained computer servers that were Iocated

outsid.e of    Illinois.

                  m.       Company E was a financial technolory company that issued PPP

loans to qualified applicants.

       2.         Beginning no earlier than on or about April 9,2020, and continuing until

at least June 2, 2020, at Itasca, in the Northern District of Illinois, Eastern Division,

and elsewhere,

                                   JOSEPH J. CIPOLLA, JR.,

 defendant herein, knowingly devised, intended          to devise, and participated in   a

 scheme to defraud, and to obtain money and property from, Bank A, Company D,

 Bank B, and Company E, by means of materially false aud fraudulent pretenses,

 representations, and. promises, and the concealment of material facts, as further

 described below.



                                              28
   Case: 1:22-cr-00208 Document #: 56 Filed: 10/12/22 Page 29 of 59 PageID #:139




      3.     It   was part of the scheme that CIPOLLA caused to be submitted

to Bank A, Company D, Bank B and Company E, applications for PPP loans on behalf

of multiple companies, including Six North Aviation, Exotic Aerospace and Chicago

Exotic Car Collection, which applications contained materially false statements and

misrepresentations concerning, among other things, each company's payroll

and number of employees.

                                      Bank A

      4.     It   was further part of the scheme that, on or about April 9, 2020,

CIPOLLA, on behalf of Six North Aviation, caused to be submitted to Bank A an

application for a PPP loan from Bank A to Six North Aviation in the amount of

approximately $450,000, based upon a claimed average payroll of $180,000 per

month. As CIPOLI"A knew at the time he submitted the application, Six North

Aviation did not have a monthly payroll expense of $180,000.

      5.     Itwasfurtherpartofthe schemethat, insupportofSixNorthAviation's
application for a PPP loan from Bank A, CIPOLLA caused to be submitted. to Bank A

multiple documents that contained false information about Six North Aviation's and

CIPOLLA's financial condition, including the following:

             a.      a document that purported to be a 20L9 IRS Form 941 for Six

North Aviation, which falsely. reported. that, during one quarter   in 2}lg, Six North
Aviation made wage payments of approximately $341,034.56 for 17 employees and

withheld approximately $21,323.45 in federal income tax;


                                         29
   Case: 1:22-cr-00208 Document #: 56 Filed: 10/12/22 Page 30 of 59 PageID #:140




             b.      a document that purported to be a "preview copy'' of a 2019 IRS

Form 1040 individual income tax return for CIPOLLA, which falsely claimed (on

Schedule C) that Six North Aviation paid wages of approximately $1,249,999 in 2019;

and

             c.      documents purporting to be employee proflles   for 18 purported

Six North Aviation employees, most of which contained a false social security number

and./or false addresses for the purported employees.

      6.     It was further part of the scheme that, through the submission of the
false and fraudulent PPP loan application, CIPOLI"A caused Bank A to disburse a

PPP loan to Six North Aviation of approximately $284,195, on or about May 1, 2020,

into a bank account (ending in 7980) that Six North Aviation maintained at
JPMorgan Chase Bank ("Chase Bank"). CIPOLLA knew at the time that neither he

nor Six North Aviation was entitled to the PPP loan funds.

                                CompanyD/BanlB
        7. It     was further part of the scheme that, on or about May 1, 2020,

 CIPOLLA caused to be submitted to Company D an application for a PPP loan from

 Bank B to Exotic Aerospace in the amount of approximately $305,000, in which he

 falsely and. fraudulently represented that Exotic Aerospace had 17 employees and

 an average payroll of $122,000 per month. As CIPOLI"A knew at the time he caused

 the submission of the application, Exotic Aerospace did not have 17 employees or a

 monthly payroll of $122,000.


                                         30
   Case: 1:22-cr-00208 Document #: 56 Filed: 10/12/22 Page 31 of 59 PageID #:141




      8.      It was further part of the scheme that, in support of Exotic Aerospace's

application for a PPP loan from Bank B, CIPOLI"A caused to be submitted to

Company D and Bank B a document that purported to be a 2019IRS Form 941 for

Exotic Aerospace, which falsely reported that, during the fourth quarter of 20L9,

Exotic Aerospace made wage payments           of approximately $407,923.23 for     L7

employees and withheld approximately $57,878 in federal income tax.

      9.      It was further part of the scheme that, through the submission    of the

false and fraudulent PPP loan application, CIPOLLA caused Bank B to disburse a

PPP loan of approximately $305,000, on or about May 4, 2020, into a bank account

(ending   in 5280) that Exotic Aerospace maintained at Chase Bank. CIPOLLA knew
at the time that neither he, Individual AP, nor Exotic Aerospace was entitled to the

PPP loan funds.

                                     Companv E

      10.     It was further part of the scheme that, on or about May 30, 2O2O,
CIPOLLA, on behalf of Chicago Exotic Car Collection, caused. to be submitted to

Company E an application for a PPP loan from Company E to Chicago Exotic Car

Collection in the amount of approximately $445,403, based upon a claimed average

payroll of $178,162 per month for 24 employees. As CIPOLLA knew at the time he

submitted the application, Chicago Exotic Car Collection had neither a monthly

payroll expense of $178,16 2 nor24 employees.




                                         31
   Case: 1:22-cr-00208 Document #: 56 Filed: 10/12/22 Page 32 of 59 PageID #:142




      11. It was further part of the scheme that, in support of Chicago Exotic Car
Collection s application for a PPP loan from Company           E, CIPOLLA caused to be

submitted to Company E a document that purported to be a 2019 IRS Form W-3SS,

which falsely reported approximately $534,484 in paid wages and approximately

$72,347   in withheld income taxes, as well as a false indication that      Chicago Exotic

Car Collection had issued 21 IRS Form W-2 statements in 2019.

       L2. It was further part of the scheme that, through the submission            of the

false and fraudulent PPP loan application, CIPOLLA caused Company E to disburse

a PPP loan to Chicago Exotic Car Collection of approximately $445,403, on or about

June 2,2020, into a bank account (ending in 5641) that CIPOLI"A maintained as a

personal account at Chase Bank. CIPOLI"A knew at the time that neither he nor

Chicago Exotic Car Collection was entitled to the PPP loan funds.

                                        Concealment

      13. It was further part of the scheme that CIPOLLA concealed,
misrepresented and hid, and caused to be concealed, misrepresented and hidden, the
             I

existence and purpose of the scheme and the acts done in furtherance of the scheme.

      L4.        On or about April 9,2020, at Itasca, in the Northern District of Illinois,

Eastern Division, and elsewhere,

                                 JOSEPH J. CIPOLI,A, JR.,

 defendant herein, for the purpose of executing the scheme, knowingly caused to be

 transmitted by means of wire communications in interstate commerce certain


                                              32
 Case: 1:22-cr-00208 Document #: 56 Filed: 10/12/22 Page 33 of 59 PageID #:143




writingp, signs, and signale, namely, an application for a PPP loan from Bank A to

Six North Aviation, which was proceesed outside of the State of Illinois;

    In violation of fitle 18, United States Code, Section 1343.




                                       33
   Case: 1:22-cr-00208 Document #: 56 Filed: 10/12/22 Page 34 of 59 PageID #:144




                               COUNT FOURTEEN

      The SPECIAL APRIL 2021GRAND JURY turther charges:

      L.     The allegations in paragraphs 1 through 13 of Count Thirteen of this

Superseding Indictment are re-alleged and incorporated herein.

      2.     On or about May 1, 2020, in the Northern District of Illinois, Eastern

Division, and elsewhere,

                            JOSEPH J. CIPOLLA, JR.,

 defeirdant herein, for the purpose of executing the scheme, knowingly caused to be

 transmitted by means of wire communications in interstate commerce certain

 writings, signs, and signals, namely, an electronic wire transmission of
 approximately $284,195, which was processed through Chase Bank servers located

 outside of Illinois and credited to Six North Aviation s Chase Bank account (ending

 in 7980);

      In violation of Title 18, United States Code, Section 1343.




                                         34
  Case: 1:22-cr-00208 Document #: 56 Filed: 10/12/22 Page 35 of 59 PageID #:145




                                 COUI\rT FIFTEEN

      The SPECIAL APRIL 202L GRAND JURY turther charges:

      1.      The allegations in paragraphs 1 through 13 of Count Thirteen of this

Superseding Indictment are re-alleged and incorporated. herein.

      2.      On or about May L, 2020, at Itasca, in the Northern District of Illinois,

Eastern Division, and elsewhere,

                             JOSEPH J. CIPOLLA, JR.,

 defendant herein, for the purpose of executing the scheme, knowingly caused. to be

 transmitted by means of wire communications in interstate commerce certain

 writings, signs, and siguals, namely, an application transmitted to Company D for

 a PPP loan from Bank B to Exotic Aerospace, which was processed outside of the

 State of Illinois;

      In violation of Title 18, United States Code, Section 1343.




                                          35
  Case: 1:22-cr-00208 Document #: 56 Filed: 10/12/22 Page 36 of 59 PageID #:146




                                COUNT SD(TEEN

      The SPECIAL APRIL 2021GRAND JURY turther charges:

      1.     The allegations in paragraphs 1 through    1"3   of Count Thirteen of this

Superseding Indictment are re-alleged and incorporated herein.

      2.     On or about May   4, zt)zl,in the Northern District of Illinois, Eastern
Division, and elsewhere,

                            JOSEPH J. CIPOLI,A, JR.,

 defendant herein, for the purpose of executing the scheme, knowingly caused to be

 transmitted by means of wire communications        in interstate    commerce certain

 writings, signs, and signals, namely, an electronic wire transmission of
 approximately $305,000 from Bank B which was processed on servers located

 outside of Illinois and credited to Exotic Aerospace's Chase Bank account (ending

 in 5280);

      In violation of Title 18, United States Code, Section 1343.




                                         36
  Case: 1:22-cr-00208 Document #: 56 Filed: 10/12/22 Page 37 of 59 PageID #:147




                                COUNT SEVENTEEN

      The SPECIAL APRIL 2027 GRAND JURY turther charges:

      1.     The allegations in paragraphs 1 through 13 of Count Thirteen of this

Superseding Indictment are re-alleged and incorporated herein.

      2.     On or about May 30, 2020, at Itasca, in the Northern District of Illinois,

Eastern Division, and elsewhere,

                              JOSEPH J. CIPOLI,A, JR.,

 defendant herein, for the purpose of executing the scheme, knowingly caused to be

 transmitted by means of wire communications         in interstate   commerce certain

 writings, signs, and signals, namely, an application transmitted to Company E for

 a PPP loan from Company E to Chicago Exotic Car Collection, which was processed

 outside of the State of Illinois;

      In violation of fit1e 18, United States Code, Section 1343.




                                         37
  Case: 1:22-cr-00208 Document #: 56 Filed: 10/12/22 Page 38 of 59 PageID #:148




                               COUNT EIGHTEEN

      The SPECIAL APRIL 2021GRAND ruRY turther charges:

      1.     The allegations in paragraphs 1 through 13 of Count Thirteen of this

Superseding Indictment are re-alleged and incorporated herein.

      2.     On or about June 2, 2020, in the Northern District of Illinois, Eastern

Division, and elsewhere,

                            JOSEPH J. CIPOLLA, JR.,

 d.efendant herein, for the purpose of executing the scheme, knowingly caused to be

 transmitted by means of wire communications        in interstate   commerce certain

 writings, signs, and sig:rals, namely, an electronic wire transmission of
 approximately $445,403 from Company E which was processed on servers located

 outside of Illinois and credited. to CIPOLLA's Chase Bank account (ending in 5641);

      In violation of Title 18, United States Code, Section 1343.




                                         38
   Case: 1:22-cr-00208 Document #: 56 Filed: 10/12/22 Page 39 of 59 PageID #:149




                                 COUNT MNETEEN

      The SPECIAL APRIL 2021GRAND JURY further charges:

       1.    The allegations in sub-paragraphs 1(a) and 1(b) of Count Thirteen of this

Superseding Indictment are re-alleged and incorporated herein.

      2.     At times material to this Superseding Indictment:

             a.     One source of relief provided by the CARES Act and other

pandemic-relief legislation was the expansion of the Economic Injury Disaster Loan

("EIDL") Program, which provided loan assistance (including advances of up to

$10,000) for businesses   with 500 or fewer employees and other eligible entities. The

EIDL Program was designed to provide economic relief to small businesses that were

experiencing a temporary loss of revenue.

             b.     To gain    access   to funds through the EIDL Program, small
businesses applied through the SBA via an online portal and application. As part of

the EIDL application process, the SBA required applicants to submit truthful
information about the applying entity and. its condition prior to the COVID-l9

pandemic. This information includ.ed the entity's gross revenues and cost of goods

sold for the l2-month period prior to January 31, 2020, and the entity's number of

employees as of January 3L, 2020. The applicant also was required to provide the

business owner's name, date of birth, and social security number. Applicants were

required to electronically certifu that the information provided in the application was




                                           39
   Case: 1:22-cr-00208 Document #: 56 Filed: 10/12/22 Page 40 of 59 PageID #:150




true and correct and were warned that any false statement or misrepresentation to

the SBA may result in sanctions, including criminal penalties.

             c.     EIDL funds were issued to the small business applicants directly

from the United States Treasury.

             d.    EIDL Ad.vance was a grant program offered together with the

EIDL program. EIDL Advance was designed to provide emergency economic relief to

businesses that were experiencing a temporary loss of revenue as a result of the

COVID-19 pandemic. The applicant could request consideration for an EIDL advance

in an application for an EIDL loan. The amount of the advance issued to the small

business applicant was determined. by the number sf smployees indicated on the

EIDL application, $1,000 per employee, up to $10,000. If an EIDL advance was
issued, the advance did not need to be repaid.

             e.    At times, the SBA requested ad.d.itional materials in support of an

EIDL application to confirm the identity of the business owner and the authenticity

of the applyrng entity, including a copy of the business owner's         state-issued

identification card and documentation substantiating the existence of the applying

entity.

             f.    The SBA used the business owner's personal identifying
information from the EIDL application, including the owner's name and social

security number, to generate a credit report for the owner. The creditworthiness of

the business owner was material to the SBA s decision to approve an EIDL loan.


                                         40
     Case: 1:22-cr-00208 Document #: 56 Filed: 10/12/22 Page 41 of 59 PageID #:151




               g.       If the application was approved by the SBA, the amount of the
EIDL loan was determined. in part based on the statements in the EIDL application

about the entity's revenues and cost of goods sold for the L2 months prior to

January 31,2020.

               h.       EIDL Program funds could be used to pay for the ordit'ary

operating expenses and d.ebts of the entiliy, including payroll, sick leave, production

costs, utilities, rent, and mortgage payments.

               i.       During 2020, CPOLLAowned, operated and controlled Six North

Aviation.

        3.     Beginning no later than April 3, 2020, and continuing until at least

June 26,2020, in the Northern District of Illinois, Eastern Division, and elsewhere,

                                 JOSEPH J. CIPOLI,.A, JR.,

defendant herein, knowingly devised, intended to devise, and participated            in a
scheme    to defraud, and to obtain money and property from the EIDL Program by

means of materially false and fraudulent pretenses, representations, and promises,

as   further described below.

        4.     It was part of the           scheme    that, on or about April           3,

2020, CIPOLLA caused         to be submitted to the   SBA   an application for an EIDL

loan on behalf      of Six North Aviation, which applications contained   materially false

statements     and misrepresentations concerning, among other things, the
company's gross revenue, cost of goods sold, and number of employees.


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   Case: 1:22-cr-00208 Document #: 56 Filed: 10/12/22 Page 42 of 59 PageID #:152




          5. It was further part of the scheme that, in the EIDL loan application,
 CIPOLLA falsely represented that, in the 12 months prior to January 31, 2020, Six

 North Aviation had $3,000,000 in gross revenues and $2,700,000 in cost of goods

 sold, and that, as of January 31,2020, the company had four employees. CIPOLI"A

 knew at the time that Six North Aviation did not have the revenue, cost of goods

 sold, or number of employees claimed in the application.

      6.       It was further part of the scheme that, through the submission     of the

false and fraud.ulent EIDL loan application, CIPOLI"A caused the SBA to disburse at

least approximately $149,900 in EIDL loans and advances into a bank account
(ending in 7980) that Six North Aviation maintained at Chase Bank. CIPOLI"A knew

at the time that neither he nor Six North Aviation was entitled to the EIDL funds.

      7.      It   was further part of the scheme that CIPOLI"A misrepresented,

concealed, and hid, and caused to be misrepresented, concealed, and hidden, certain

material facts, including the acts and purposes of the acts done in furtherance of the

scheme.

      8.      On or about June 12,2020, at Itasca, in the Northern District of Illinois,

Eastern Division, and elsewhere,

                              JOSEPH J. CIPOLI"A, JR.,

defendant herein, for the purpose of executing the scheme, knowingly caused to be

transmitted by means of wire communication           in   interstate commerce certain

writings, signs, signals, arid sounds, namely, an interstate wire transmission of

                                          42
  Case: 1:22-cr-00208 Document #: 56 Filed: 10/12/22 Page 43 of 59 PageID #:153




approximately $145,900 from     the Federal Reserve Bank to Six North Aviation-s
Chase   $ank account (enrling in ?980), which funds represented the proceeds of an

EIDL to Six North Aviation;

        In violatiou of Title 18, United States Code, Section 1343.




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   Case: 1:22-cr-00208 Document #: 56 Filed: 10/12/22 Page 44 of 59 PageID #:154




                                   COUNT TWENTY

        The SPECIAL JULY 2021GRAND JURY turther charges:

       1.    At times material to this Superseding Indictment:

             a.     Bank C was a fi.nancial institution, namely, a credit union the

accounts of which were insured by the National Credit Union Share Insurance Fund.

             b.     Bank C offered loans for the purchase of automobiles.

             c.     Bank C required applicants for automobile loans to provide

truthful information, including truthful information about the              applicant's

employment and income, which information was material to Bank C's approval,

terms, and funding of loans.

             d.     In March 2020, CPOLLA lived at a resid.ence in Itasca, Illinois

('the Itasca Residence").

      2.     In or about March 2020, at Chicago, in the Northern District of Illinois,

Eastern Division, and elsewhere,

                                JOSEPH J. CIPOLLA, JR.,

 d.efend.ant herein, knowingly participated.   in a scheme to defraud Bank C and. to

 obtain money and funds owned by and under the custody and control of Bank C by

 means of materially false and fraudulent pretenses, representations, and promises,

 which scheme is further described below.

      3.     It was part of the scheme.that      CIPOLLA fraudulently obtained. an

automobile loan from Bank C by submitting, and causing to be submitted, a loan


                                         44
   Case: 1:22-cr-00208 Document #: 56 Filed: 10/12/22 Page 45 of 59 PageID #:155




application    in which CIPOLLA made false statements relevant to                    his

creditworthiness, including false representations regarding his employment and

assets.

          4.   It was further part of the scheme that,   on or about March 13, 2020, in

order to purchase a 201-0 Ferrari 458 Italia flnN ending 5302) from Company F, an

automobile dealership located      in Downers Grove, Illinois, CIPOLI"A submitted    an

application for financing to Bank C.

          5.   It   was further part of the scheme that,   in order to obtain financing,
CIPOLLA falsely represented in the Ioan application to Bank C that:

               a.       CIPOLLA had lived at the Itasca Residence for more than seven

years when, in fact, CIPOLLA only began living at the Itasca Residence in or about

March 2017;

               b.       CIPOLLA owned the Itasca Residence when, in fact, CIPOLI"A

was renting the Itasca Residence; and

               c.      CIPOLLA had served as the President of Six North Aviation for   5

years and 9 months, when, in fact, Six North Aviation only came into existence in or

about March 2018.

      6.       It   was further part of the scheme that CIPOLLA certifi.ed the factual

statements in the loan application as being complete and true when, as CIPOLLA

knew at the time, the loan application included false statements of material fact

related to CIPOLI"A's employment and assets.


                                            45
   Case: 1:22-cr-00208 Document #: 56 Filed: 10/12/22 Page 46 of 59 PageID #:156




      7.     It   was further part of the scheme that, in support of his application,

CIPOLLA submitted to Bank C what purported to be IRS Form 1040 individual

income tax returns for CIPOLLA for tax years 201-7 and 2018 that were fi.led with the

IRS when, as CIPOLI"A knew, he had not filed any individual income tax returns for

tax years 2017 and 2018.

      8.     It was further part   of the scheme that, as a result of his false statements

in the loan application and provision of false tax returns, CIPOLI"A induced Bank       C

to extend a loan to CIPOLLA in the amount of approximately $125,982 for the
purchase of a 2010 Ferrari 458 Italia flIIN ending 5302).

        9. It was further part of the              scheme   that CIPOLLA concealed,
 misrepresented and hid, and caused to be concealed., misrepresented and hidd.en,

 the existence and purpose of the scheme and the acts        d.one   in furtherance of the

 scheme.

        10. On or about March       31-,   2020, at Chicago, in the Northern District of

 Illinois, Eastern Division, and elsewhere,

                              JOSEPH J. CIPOLLA, JR.,

 defendant herein, knowingly executed and attempted to execute the scheme to

 d.efraud by causing Bank C, a financial institution, to fund an automobile loan        in

 the amount of approximately $125,982 for CIPOLLA's purchase of a 2010 Ferrari

 458Italia (WN ending 5302);

      In violation of Title L8, United States Code, Section t344.


                                             46
   Case: 1:22-cr-00208 Document #: 56 Filed: 10/12/22 Page 47 of 59 PageID #:157




                                  COUNT TWENTY-ONE

       The SPECIAL APRIL 202L GRAND JURY further charges:

       1.         At times material to this Superseding Indictment:

                 a.      CIPOLLA owned, operated and controlled Chicago Muscle Cars,

Mercedes Benz Classics and Six North Aviation, among other companies.

                 b.      Through some of his companies, including Chicago Muscle Cars,

Mercedes Benz Classics and Six North Aviation, CIPOLLA purchased and resold

motor vehicles for a profit.

                 c.      Through Six North Aviation, CIPOLI"A purchased and resold

aircraft for a profit.

       2.        Beginning no earlier than in or about20L6, and continuing until at least

in or about2020, in the Northern District of lllinois, Eastern Division, and elsewhere,

                                 JOSEPH J. CIPOLLA, JR.,

 defendant herein, knowingly devised, intended to devise, and participated          in   a

 scheme     to   defraud, and    to obtain   money and property from Individual BM,

 Company G, and other individuals and entities, by means of materially false and

 fraudulent pretenses, representations, and promises, and the concealment of

 material facts, as further described. below.

       3.        It   was part of the scheme that CIPOLLA, ind.ividually or through

companies associated with him, offered vehicles, aircrafb and other equipment for sale

on various internet sites, includ-ing eBay, Craigslist and Trade-A-Plane.



                                              47
   Case: 1:22-cr-00208 Document #: 56 Filed: 10/12/22 Page 48 of 59 PageID #:158




        4.    It was further part of the   scheme that, on various occasions, CIPOLLA

made false statements to prospective purchases about the condition of vehi.cles and

aircraft that he offered for sale on the internet sites.

        5.    It was further part of the   scheme that, on various occasions, CIPOLI"A

induced prospective purchasers to pay for a vehicle, aircraft or other items that

CIPOLLA thereafter did not deliver.

        6.    It was further part of the scheme that, on various occasions, CIPOLLA,

afber accepting purchase money for a vehicle or aircrafi, refused to return     all or a
portion of the purchase money despite his failure to provide the purchaser with the

vehicle or aircraft.

        7.    It was further part of the   scheme that, on various occasions, CIPOLI"A

rolled back the mileage on vehicle odometerb in order to increase the ostensible value

of the vehicle and thereafter falsely represented the rolled back mileage as the true

mileage on the vehicle.

                                     Individual BM

        8.    It was further part of the scheme that, in or about April 20t7 , CIPOLI"A,

through Mercedes Benz Classics advertised for sale a 1987 Mercedes Benz 560 SL

fl[N   ending L470) for sale on eBay.

        9.     It   was further part of the scheme that,     in or about April    20L7,

CIPOLLA agreed to seII the vehicle to Individuat BM and, as a result, induced




                                            48
   Case: 1:22-cr-00208 Document #: 56 Filed: 10/12/22 Page 49 of 59 PageID #:159




Individual BM to pay Mercedes Benz Classics approximately $16,000 to conclude the

purchase.

       10. It was further part of the scheme that, after receiving        the purchase

money from Individual BM, CIPOLLA neither provided Individual BM with the

vehicle nor refunded the purchase money to Individual BM.

                                        Company G

       Ll. It was further part of the scheme that, in or about May or June 2019,
CIPOLLA purchased a 1986 Buick Regal Grand National (VIN end.ing 1876) from an

individual in Michigan and caused the vehicle to be titled in Illinois under Six North

Aviation.

       L2. It was further part of the scheme that, with intent to fraudulently
increase the vehicle's value, CIPOLLA rolled back the vehicle's odometer from an

approximate high mileage of 55,728 to an approximate low mileage of 4,800.

       13.    It was further part   of the scheme that, in or about June 2019, CIPOLLA,

through Six North Aviation, advertised the vehicle for sale on eBay.

       14. It was further part of the scheme that, in or about June 20L9, on eBay
and   in   verbal conversations with a representative of Company G, CIPOLLA

misrepresented the true condition of the vehicle, including by falsely asserting that

the vehicle's mileage was only approximately 4,800.

       15. It    was further part of the scheme that, as a result of his false

representations concerning the1986 Buick Regal Grand National flI[N ending 1876),


                                            49
  Case: 1:22-cr-00208 Document #: 56 Filed: 10/12/22 Page 50 of 59 PageID #:160




CIPOLLA induced Company G, on or about June 18, 2019, to pay Six North Aviation

$27,500 for the vehicle.

      16. It was further part of the scheme that, on or about June 28, 2}l:g,
CIPOLLA mailed the Illinois title to the vehicle to Company G.

                                     Concealment

      L7. It was further part of the scheme that CIPOLLA concealed,
misrepresented and hid, and caused to be concealed, misrepresented and hidden, the

existence and purpose of the scheme and the acts done in furtherance of the scheme.

      18.    On or about June 18, 2019, at Itasca, in the Northern District of Illinois,

Eastern Division, and elsewhere,

                             JOSEPH J. CIPOLLA, JR.,

 defend.ant herein, for the purpose of executing the scheme, knowingly caused. to be

 transmitted by means of wire communications          in interstate   commerce certain

 writings, signs, and signals, namely, an electronic wire transfer from Company G

 of approximately $27,500, which was initiated outside of the State of Illinois and

 credited to Six North Aviation s Chase Bank account (ending in 7980);

      In violation of fitle 18, United States Code, Section 1343.




                                          50
  Case: 1:22-cr-00208 Document #: 56 Filed: 10/12/22 Page 51 of 59 PageID #:161




                                 COUNT TWENTY-TTYO

      The SPECIAL APRIL 202L GRAND JURY turther charges:

        1.   The allegations inparagraphs       l through 17 of Count TWenty-One   of   this

 Superseding Indictment are re-alleged and incorporated herein.

      2.     On or about June 28, 20L9, in the Northern District of Illinois, Eastern

Division, and elsewhere,

                                JOSEPH J. CIPOLI,A, JR.,

 defendant herein, for the purpose of executing the scheme, and attempting to do so,

 knowingly placed and caused to be placed in an authorized depository for mail an

 item to be delivered by the United States Postal Service, namely, an Tllinois

 Certificate of   fitle   of a Vehicle for the 1986 Buick Regal Grand National (WN

 ending 1876) add.ressed. to Company G in North Royalton, Ohio;

      In violation of fitle 18, United States   Cod.e,   Section and 1341.




                                           51
   Case: 1:22-cr-00208 Document #: 56 Filed: 10/12/22 Page 52 of 59 PageID #:162




                            COUNT TWENTY.THREE

        The SPECIAL JULY 2021GRAND ruRY turther charges:

        In or about June z)Lg,in the Northern District of Illinois, Eastern Division,

and elsewhere,

                             JOSEPH J. CIPOLLA, JR.,

defendant herein, knowingly and willfirlly replaced, reset, and altered, and cause to

be replaced, reset, and altered, the odometer of a motor vehicle, namely, a L986 Buick

Regal Grand National   flIIN ending 1876), with the intent to change the number of
miles indicated on the odometer from an approximate high mileage of 55,728 to an

approximate false milsagg of 4,896;

      In violation of fitle 49, United States Code, Sections 32703(2) and 32709(b).




                                         52
  Case: 1:22-cr-00208 Document #: 56 Filed: 10/12/22 Page 53 of 59 PageID #:163




                                 COUNT TVI{ENTY.FOUR

      The SPECIAL APRIL 2021GRAND JURY further charges:

      1.      At times material to this Superseding Indictment:

               a.     CIPOLLA owned, operated and controlled Six North Aviation,

Chicago Exotic Car Collection and Dupage Aviation.

               b. At various times, CIPOLLA        had access to private jet aircrafb, to

include the following:

                            a Dassault-Breguet Falcon 50 aircraft bearing        Federal

      Aviation Administration ("FAA") Registration Number N569BW ("the Falcon

      50   Aircraft"), which was leased by Chicago Exotic Car Collection from its owner

      during the period of approximately June 16, 2020, through and including

      December 2,2020; and

                    ii.     a   British Aerospace BAE 125 Series 8004. Hawker aircraft

     bearing FAA Registration Number N117JT ('the Hawker 800 Aircraft"), which

     was owned by Dupage Aviation as of approximately August 24,2020.

               c.     CIPOLLA maintained the Falcon 50 Aircraft and the Hawker 800

Aircraft at various places, including at the DuPage Airport in West Chicago, Illinois.

               d.     CIPOLLA advertised. on an internet website for Dupage Aviation

that consumers could dry lease aircrafb, including the Falcon 50 Aircraft and the

Hawker 800 Aircraft, from Dupage Aviation, meaning that consumers could rent the

aircraft without the provision of a pilot or crew, with additional expenses to be borne


                                            53
   Case: 1:22-cr-00208 Document #: 56 Filed: 10/12/22 Page 54 of 59 PageID #:164




 by the lessee of the aircraft. In the website posting, CIPOLI"A falsely represented

 that Dupage Aviation owned the Falcon 50 Aircrafb.

       2.     Beginning no earlier than on or about October 6,2020, and continuing

until at least May 9, 202L, at DuPage County, in the Northern District of Illinois,
Eastern Division, and elsewhere,

                              JOSEPH J. CIPOLLA, JR.,

d.efendant herein, knowingly devised, intended      to devise, and participated in   a

scheme   to defraud, and to obtain money and property from Individual JM           and

Company H, by means of materially false and fraudulent pretenses, representations,

and promises, and the concealment of material facts, as further described below.

       3.    It was part of the scheme that CIPOLLA, through the use of false
representations and promises, including the false claim that the Falcon 50 Aircraft

and the Hawker 800 Aircraft were insured, ind.uced. Individual JM, and Company H

to enter into contracts with Chicago Exotic Car Collection and Dupage Aviation for

the provision of dry leasing services.

      4.     It   was further part of the scheme that CIPOLLA utilized a form dry

leasing contract for customers dry leasing an aircraft from Chicago Exotic Car

Collection and Dupage Aviation.

                                    Individual JM

      5.     It   was further part of the scheme that, on or about October 6, 2020,

CIPOLLA, acting on behalf of Dupage Aviation, the lessor, entered into a non-


                                          54
   Case: 1:22-cr-00208 Document #: 56 Filed: 10/12/22 Page 55 of 59 PageID #:165




exclusive dry lease contract with Individual JM, the lessee, for a number of flight

hours on the Hawker 800 Aircraft.

       6.     It   was further part of the scheme that the dry lease contrait between

Dupage Aviation and Individual JM falsely claimed that: (a) the Iessor maintained

an insurance policy with the "N. Brown Agency" in the amount of $1,000,000 that

would insure the lessee's contractual liability to the lessor, including as a result of

damage or loss of the aircraft as a result of the lessee's operation of the leased aircraft;

and (b) that the lessor would provide the lessee with a copy of the Certifi.cate of

Insurance upon demand. In fact, CIPOLLA did not maintain an insurance policy on

the aircraft. The existence of the claimed insurance policy was a material factor in

the lessee's decision to lease the aircraft.

       7.     It   was further part of the scheme that CIPOLLA represented to

Individual JM that Individual JM could, at his election, use the leased flight hours

interchangeably between the Falcon 50 Aircraft and the Hawker 800 Aircraft.

       8.     It was further part of the scheme that,     as a result of CIPOLLA's false

representations, Individual JM paid $30,000 to Dupage Aviation to dry lease the

Hawker 800 Aircraft and/or the Fa1con 50 Aircraft. At CIPOLL,,A's direction, the funds

were wired into a Six North Aviation bank account.

      9.      It   was further part of the scheme that, in or about January 202L,

CIPOLLA falsely represented to Individuat JM that the Falcon 50 Aircraft was

unavailable due to repairs when, as CIPOLLA knew, it was unavailable to CIPOLIA


                                               55
   Case: 1:22-cr-00208 Document #: 56 Filed: 10/12/22 Page 56 of 59 PageID #:166




because the owner of the Falcon 50      Aircraft had repossessed it from Dupage Aviation

on or about December 2,2020.

                                            Company H

       10. It was further part of the scheme that, on or about April               25, 2021,

CIPOLLA, acting on behalf of Dupage Aviation, the lessor, entered into a non-

exclusive dry lease contract with Company H, for a number of flight hours on the

Hawker 800 Aircraft.

       11. It was further part of the scheme that the dry lease contract between
Dupage Aviation and Company H falsely claimed that: (a) the lessor maintained an

insurance policy with the "N. Brown Agency'' in the amount of $1,000,000 that would

insure the lessee's contractual liability to the lessor, including as a result of damage

or loss of the aircraft as a result of the lessee's operation of the leased. aircraft;   and.

(b) that the lessor would provide the lessee    with   a copy of the Certificate of Insurance

upon d.emand. The dry lease contract further stated that this insurance policy

included. a $50,000,000 per incident aggregate policy that named. Company           H as an

additional irrsured. In fact, CPOLI"A did not maintain an insurance policy on the

aircraft. The existence of 6[s s[aimed insurance pblicy was a material factor in the

lessee's decision to lease the   aircraft

       12. It was further part of the scheme that, during the course of negotiating
the lease and well into the lease period, CIPOLI"A falsely represented to an offi.cial of

Company H that his name was "Joe Cunningham."


                                               56
   Case: 1:22-cr-00208 Document #: 56 Filed: 10/12/22 Page 57 of 59 PageID #:167




      13. It was further part of the scheme that, as a result of CIPOLI"A's false
representations, Company H paid $90,000 to Dupage Aviation to dry lease the

Hawker 800 Aircraft via a wire transfer into a personal bank account held by

CIPOLLA.

                                    Concealment

      t4.    It was further part of the scheme that               CIPOLLA concealed,

misrepresented and hid, and caused to be concealed, misrepresented and hidden, the

existence and purtrlose of the scheme and the acts done in furtherance of the scheme.

      15.    On or about April 24, 202L, in the Northern District of Illinois, Eastern

Division, and elsewhere,

                              JOSEPH J. CIPOLLA, JR.,

 defendant herein, for the purpose of executing the scheme, knowingly caused to be

 transmitted by means of wire communications in interstate commerce certain

 writings, signs, and signals, namely,   a wire   transfer of approximately $90,000 from

 Company H to a bank account (ending in 7682) that CIPOLI"A maintained at First

 Midwest Bank in the Northern District of Illinois, which wire transfer originated

 outside the State of Illinois;

      In violation of Title 18, United States Code, Section 1343.




                                           57
 Case: 1:22-cr-00208 Document #: 56 Filed: 10/12/22 Page 58 of 59 PageID #:168




                               FORFEITURE ALLEGATION

     The SPECIAL APRIL 202L GRAND ruRY turther alleges:

       1.     Upon conviction for an offense      in violation of Title   L8, United States

Code, Section 1343, as set          forth in Counts Thirteen through Nineteen, Count

Twenty-One and Count Tkenty Four of this Superseding Indictment, and upon

conviction for an offlense in violation of Title 18, United States Code, Section 1341,

as set forth   in Count TWenty-TWo, defendant shall forfeit to the United States of
America any property which constitutes and is derived from proceeds traceable to

the offense, as provided in Title 18, United States Code, Section 981(a)(1XC), and

Title 28, United States Code, Section 2461(c).

      2.      The property to be forfeited includes, but is not limited to, an amount of

money forfeitable through a personal money judgment             in the amount of at least

approximately     $    1,728,610.

      3.      If any of the property described above, as a result of any act or omission

by defendant: cannot be located upon the exercise of due diligence; has been
transferred or sold to, or deposited with, a third party; has been placed beyond the

jurisdiction of the Court; has been substantially diminished. in value; or has been

commingled with other property which cannot be divided without d.iffi.culty, the

United States of America shall be entitled to forfeiture of substitute property,        as

provided in    fitle   21, United States Code Section 853(p).




                                             58
  Case: 1:22-cr-00208 Document #: 56 Filed: 10/12/22 Page 59 of 59 PageID #:169




                                            A TRUE BILL:




                                            FOREPERSON




UNITED STATES ATTORNEY




                                       59
